Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 1 of 14 PageID# 681



                         UNITED     STATES     DISTRICT    COURT
                         EASTERN DISTRICT         OF VIRGINIA
                                   Norfolk Division



 DOUGLAS I.    HORNSBY, Administrator of
 the Estate of CYNTHIA GARY,

              Plaintiff,

       V.                                                       CIVIL NO.:          2:22cv427


 UNITED STATES OF AMERICA,

 COASTAL MECHANICAL SYSTEMS,           LLC,

 and


 KD SHIPYARD REPAIRS,        LLC,

              Defendants.




                                        OPINION


       This matter     comes before      the    court on   two Motions        to     Dismiss,

 filed by Defendants KD Shipyard Repairs,                 LLC   ("KDSR")      and Coastal

 Mechanical       Systems,   LLC    ("Coastal") .^   ECF     Nos.     54,     59.    For   the

 reasons explained below,           the court ADOPTS AND APPROVES IN FULL the

 findings   and recommendations set             forth in the Magistrate Judge's

 Report     and     Recommendation       ("R&R"),     ECF       No.     93;         OVERRULES

 Plaintiff's Objections, ECF No.             96; GRANTS the Defendants' Motions



      ^ CECO Environmental Corp. ("CECO") also filed a Motion to
 Dismiss,   ECF No. 73,  and the Magistrate Judge's Report and
 Recommendation addresses that Motion, ECF No. 93. However, CECO
 was    dismissed   from   this   case   without   prejudice  on
 November 13, 2023. ECF No. 110. Accordingly, this Opinion only
 addresses the Motions filed by KDSR and Coastal.
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 2 of 14 PageID# 682




 to     Dismiss,      ECF     Nos.          54,        59;    and     DISMISSES         Defendants             KDSR    and

 Coastal from the case with prejudice.

                             I.     Factual and Procedural History

         This        matter        arises              from     the       death    of       Ms.       Cynthia         Gary

  ("Decedent")         while working on board the USS McFaul                                         ("the McFaul")

 on March 15,          2021.        ECF No.             21    at SI 2.     The McFaul            is owned by the

 United States           and was                docked        for   repairs at          a    shipyard owned by

 Metro        Machine        Corp.,              d/b/a         General           Dynamics            NASSCO-Norfolk

  ("NASSCO").          Id.     at                4-5.        Decedent      died     when         a    blow-in         door


 unexpectedly closed,                  crushing her to death.                       Id.      at SI 27.         Multiple

 subcontractors were working on the McFaul that day,                                                 including KDSR

 and    Coastal.       Id.     at    SISI       7-9.


         Plaintiff           filed          a    Complaint            against      the       United        States       on


 October       14,    2022,       ECF No.          1,        and an Amended Complaint against the

 United States,          NASSCO,^ and various subcontractors,                                        including KDSR

 and    Coastal,^       on        March 10,             2023,       ECF    No.    21.       On   April     28,    2023,

 KDSR filed a Motion to Dismiss the Amended Complaint under Fed.                                                        R.

 Civ.    P.    12(b)(6)        and a Brief in Support.                           ECF Nos.         54,    55.    Coastal

 filed a Motion              to     Dismiss            on May 4,          2023,    ECF No.           59.   Plaintiff



         2    NASSCO     was        dismissed                from   the     case    without             prejudice       on
 October       27,    2023.       ECF No.          98.

         2
         The other subcontractors are Harbor Industrial Services,
 Inc.  ("HIS") and Advanced Integrated Technologies, LLC ("AIT").
 Plaintiff's claims against HIS were dismissed with prejudice on

 August 17, 2023. ECF No. 88. Plaintiff's claims against AIT were
 dismissed without prejudice on November 13, 2023. ECF No. 109.

                                                                2
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 3 of 14 PageID# 683




 has    filed memoranda opposing these Motions,                                        ECF Nos.       66,     68,   and


 Defendants have replied, ECF Nos.                                 67,    70. At issue in the Motions

 are     Plaintiff's             negligence              claim           against         KDSR        and      Coastal


  (Count IV)       and     Plaintiff's             wrongful              death    claim        against       all    the

 defendants        (Count VIII).                 ECF Nos.          55 at 4-8,          59 at 3-4.

        On August 17,             2023,          the court referred the matter to United

 States Magistrate Judge Lawrence R.                                 Leonard pursuant to 28 U.S.C.

                               thereby           designating              him     to         conduct        hearings.
                                                                                        \>

 §    636(b)(1)(B),

 including evidentiary hearings,                              if necessary,            and to submit to the

 undersigned             district           judge         proposed              findings         of        fact.     if


 applicable,            and recommendations for the disposition of the Motions

 to    Dismiss.
                   //
                         ECF    No.    90    at    2     ("Referral          Order").          Pursuant        to   the


 court's Referral Order,                    the Magistrate Judge held a hearing on the

 Motions      to        Dismiss       on         September 7,             2023.        ECF     No.    91.     At    the

 hearing,     the Magistrate Judge decided he would recommend granting

 KDSR's and Coastal's Motions to Dismiss as to the negligence claim

 against      them.       ECF    No.        92    at 25           (September 7,          2023,       Transcript).

 The    Magistrate         Judge       did        not    decide          whether        to     grant        Plaintiff

 leave to amend the negligence claim nor                                    finalize a recommendation

 for the wrongful death claim.                           Id.      at 25,        44.

        On    September 29,             2023,           the       Magistrate           Judge     filed        an    R&R

 recommending the              following:

        1. With respect to KDSR's Motion to Dismiss,                                          ECF No.       54,
        the    Court        RECOMMENDS             that           Count     IV,       negligence,           and
        Count VIII             wrongful          death,       be    DISMISSED,           that    leave        to


                                                              3
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 4 of 14 PageID# 684




            amend the Complaint be DENIED,                         and that KDSR be DISMISSED
            from       the   case.


            2. With respect to Coastal's Motion to Dismiss, ECF
            No. 59, the Court RECOMMENDS that Count IV, negligence,
            and Count VIII, wrongful death, be DISMISSED, that leave
            to amend the Complaint be DENIED, and that Coastal be
            DISMISSED         from    the   case.


            3. With respect to CECO's Motion to Dismiss,                                  ECF No.       73,
            the    Court      RECOMMENDS          that       Count       VIII    be    DISMISSED       WITH
            PREJUDICE.


 ECF No.          93    at 11-12.“^ The parties then had fourteen                                (14)       days    to

  file      written          objections           to    the       R&R.     See    ECF     Nos.    90    at        2-3;

  93   at    12.


            On    October 13,         2023,       Plaintiff          filed Objections to the R&R.

 ECF No.          96.    Plaintiff's         two       objections          focused on       the Magistrate

 Judge's          recommendations            on        the    negligence         claim     against          Coastal

 and KDSR.             Id.   at   3-5.      Plaintiff             did not       file    objections           to    the

 recommendation of dismissing the wrongful death claim.                                           Id.       Coastal

 and KDSR responded on October 27,                                2023.    ECF Nos.       99,    102.

                                            II.    Legal Standard

            Pursuant         to      Rule    72 (b)          of    the     Federal        Rules        of     Civil


 Procedure,             the court,       having reviewed the record in its entirety.

 must make a ^ novo determination of those portions of the R&R to

 which           the    parties       have        specifically             objected.        Fed.        R.        Civ.




      ^ Granting a Motion to Dismiss under Rule 12(b) (6) operates
 as a dismissal with prejudice unless otherwise stated. See, e.q.,
 Carter v. Norfolk Cmty.                    Hosp.        Ass'n,      Inc.,       761    F.2d 970,       974       (4th
 Cir. 1985).


                                                             4
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 5 of 14 PageID# 685




 P.     72(b).           For unchallenged portions, the court                                                  must    'only satisfy

  itself       that        there           is    no     clear     error                on        the    face    of     the    record        in


 order        to         accept           the    recommendation.
                                                                                       /   tt
                                                                                                 Diamond        v.    Colonial            Life


  & Accident              Ins.        Co.,        416      F.3d       310,             315        (4th       Cir.     2005)        (quoting

 Fed.     R.       Civ.          P.        72    advisory             committee's                       note).        The     court        may

 accept, reject,                     or modify,             in whole or in part,                               the recommendation

 of     the        Magistrate                   Judge,       or       recommit                    the     matter        to        him     with

 instructions.                  28    U.S.C.           §   636(b)(1).


          Objections                  to         the       R&R                                                  'with        sufficient
                                                                      w
                                                                          must              be        made


 specificity so                      as    reasonably to                      alert             the     district        court of           the

 true      ground               of        the      objection.                              Scott        V.     Va.      Port            Auth.,
                                                                              t   n




 No.     2:17-cv-176,                     2018    WL       1508592,               at       *2     (E.D.       Va.    Mar.     27,        2018)

  (Jackson,              J.)     (quoting              United         States                v.    Midqette,           478     F.3d        616,

  622    (4th       Cir.         2007)).               Objections                     must       also        respond to            specific
                                                   w




 errors in the                   [R&R]          because       general or                         conclusory objections                     are


 not proper.               General or conclusory objections are the equivalent of

                          Id.        (citing Orpiano                      v.          Johnson,           687    F.2d        44,     47    (4th
                    ff
 a    waiver.



 Cir.     1982)).


                                                           Ill.       Analysis

          Plaintiff's                 objections to                   the             R&R are           as    follows:            (1)    leave


 to     amend            should       be        granted          as       to          the        negligence           claim         against

 Coastal;          and         (2)    the dismissal of KDSR should be without prejudice

 instead           of      with           prejudice.          ECF             No.          96     at 3-5.        As    noted            above.

 Plaintiff does not object to the Magistrate Judge's recommendation

                                                                          5
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 6 of 14 PageID# 686




 that the Virginia wrongful death claim be dismissed with prejudice

 and without              leave       to    amend.          Id.    The    court          now       addresses        the      R&R's


 recommendations,                    and Plaintiff's objections to them,                                     in turn.

                                  A.       Leave      to     Amend       as    to       Coastal


          The       court       reviews          de    novo        the    R&R's              recommendation             to    deny

 Plaintiff           leave           to     amend          as     to     his       negligence               claim       against

 Coastal.           See Fed. R.             Civ.      P.    72(b). Plaintiff argues that leave to

 amend         is    appropriate                because           Plaintiff              can       establish        a     viable

 negligence            claim           based          on     the        facts           alleged        in     the       Amended

 Complaint,            a fact discussed at the hearing,                                       and new evidence                from

 an Occupational Safety and Health Administration                                                     ("OSHA")          report.^

 ECF     No.        96 at 4.           It       appears           from    the           hearing        transcript             that

 Plaintiff had access to the OSHA report at the time of the hearing

 but     did        not      rely          on    that        report           to        argue        that    Coastal           was


 negligent.            ECF      No.        92    at        13,    16.     Instead,                 Plaintiff's          counsel

 stated         that      the        redacted OSHA                 report           .    .     .   didn't     really          help

 much.
          ft

               Id. at 13. Coastal argues that the court should not consider



      5 Of interest. Plaintiff does not specifically object to the
 R&R's recommendation that Plaintiff's negligence claim against
 Coastal be dismissed with prejudice, ECF No. 96 at 3-5, as he does
 for KDSR, see infra at 9-12. However, in Adbul-Mumit v. Alexandria
 Hyundai, LLC, the Fourth Circuit held that "[p]laintiffs whose
 actions are dismissed are free to subsequently move for leave to
 amend         pursuant         to     Federal         Rule        of    Civil           Procedure       15 (b) even if
 the dismissal is with prejudice." 896 F.3d 278, 293                                                    (4th Cir. 2018)
 (citations omitted). The court in Adbul-Mumit                                                      further instructed
 that the standard of review for a denial of                                                        leave to amend is
 \\

      abuse of discretion." Id.                            (citing Laber v.                   Harvey,       438   F.3d 404,
 427-28         (4th Cir.         2006)) .         See infra note                   6.

                                                                   6
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 7 of 14 PageID# 687




  the OSHA report and that,                     even    considering the                      report.       Plaintiff

  cannot establish that KDSR was negligent.                                  ECF No.               99 at 3-8.

          In reviewing a magistrate judge's recommendations, a district

 court may        consider         new evidence              from an        objecting party.                    Virgin

 Enterprises        Ltd,      v.   Virgin        Cuts,       Inc.,         149    F.         Supp.       2d 220,      223

  (E.D.    Va.     2000)      (Friedman,         J.) .       However,            attempts            to    raise      new

 evidence during a district court's review of an R&R are disfavored.

  Id. Further, district courts often decline to consider new evidence

 when the objecting party could have presented that evidence to the

 magistrate        judge but         opted not           to.        See,    e_^.             id.    at    224   &    n.3;


 Caldwell v.        Jackson,         831   F.    Supp.       2d 911,         915            (M.D.N.C.      2010).

          The    court will        not     consider          the      OSHA       report            that    Plaintiff

 could     have     used,      but    chose       not        to,      in    his    negligence               argument

 against Coastal at the hearing before the Magistrate Judge. As the

 court explained in Virgin Enterprises,                                    permitting such piecemeal

 presentation of evidence is exceptionally wasteful of time of both

 the magistrate and district judges.                                burdens opposing parties,                         may
                                                               ft




 encourage the withholding of negative evidence,                                             and     would      reward


 careless        preparation          of   the     initial             papers.                149    F.    Supp.       2d
                                                                                       rr




 at 223-24        (quoting Morris v.             Amalgamated Lithographers of Am.,                                    994

 F.    Supp.     161,   163    (S.D.N.Y.         1998)).

          Considering the            record that was before the Magistrate Judge,

 the    court     agrees with his               recommendation to deny Plaintiff                                    leave

 to amend the negligence claim against Coastal.                                             Under Federal Rule


                                                         7
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 8 of 14 PageID# 688




 of    Civil     Procedure              15(a) ,                       [t]he             court        should          freely           give        leave
                                                                 \\




 when justice so requires.                                  Fed.             R.     Civ.        P.    15(a) (2) .               However,          leave
                                                  ft




 to amend should not be given when the amendment would be futile.

 Balas    V.     Huntington                Ingalls                     Indus.,            Inc.,           711    F.3d            401,       409     (4th


 Cir.     2013).        A       proposed           amendment                             is         futile       if
                                                                                                                           \\
                                                                                                                                it    is      legally

 insufficient              on    its    face.                    Smithfield                    Foods        Inc.      v.         United        Food    &
                                                       ft




 Com.    Workers            Int^l       Union,                        254        F.R.D.             274,     280           (E.D.        Va.       2008)

  (Payne,      J.) .       A legally sufficient                                          negligence              claim must                   contain

 facts that plausibly demonstrate                                                       the    existence of                      a    legal       duty.
                                                                                   \>




 a breach of the duty, and proximate causation resulting in damage.
                                                                                                                                                       tf




 Riddick v. Watson,                   503 F. Supp.                           3d 399,            410,       424-25           (E.D. Va. 2020)

  (Davis,       J.)        (quoting Atrium Unit                                         Owners        Ass^n          v.         King,        266     Va.

 288,    293,       585 S.E.2d 545,                     548             (2003)).                    Threadbare             recitals            of    the
                                                                                               \\




 elements        of        a     cause       of             action.                     supported               by     mere            conclusory

 statements,           do not suffice.
                                                            //

                                                                      Id.     at 410                (quoting Ashcroft v.                       Iqbal,

 556    U.S.        662,        678     (2009)).                       Further,                any         [f]actual                  allegations

 must    be     enough          to     raise       a             right            to      relief           above           the        speculative

 level.
          ft

               Id.     (quoting Bell Atl.                                   Corp.         v.        Twombly,          550 U.S.              544,     555

  (2007)).


         The        Magistrate              Judge                     weighed                 the         facts        alleged               against

 Coastal        in     Plaintiff's                Amended                          Complaint,                plus           the         fact        that

 emerged        at     the       hearing          that
                                                                        \\

                                                                             Coastal                was     completing                  a    welding

 project       on     the       interior          side                  of        the     blow-in door
                                                                                                                      //

                                                                                                                                that collapsed

 onto     Plaintiff.                 ECF     No.            93              at     10;         see         ECF       No.         92     at    19-20.
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 9 of 14 PageID# 689




 Regarding           the     Amended         Complaint,               Plaintiff's           counsel            admitted

                                                 is woefully short of facts.                              ECF No.       92
                                                                                                     ft

 during the hearing that it

 at 13. It states only that Coastal                                  was a subcontractor responsible
                                                                 w




  for all or part of the work in which Gary was engaged at the time

 of     her        death";      that        Plaintiff                was      assigned       to    work          for     a

 subcontractor             that      was     working         under          Coastal;        and    that        Coastal

 owed Plaintiff a duty,                    breached that duty,                      and caused Plaintiff's

 injuries.          ECF No.       21 at           7,    19-20,             47-49.    These bare            facts and

 the    recital       of     the     elements          of    negligence             are    insufficient.               The

 added fact that Coastal was working near the blow-in door does not

 move        the    proposed         amendments              beyond           a    speculative            level.        In



 discussing          this       fact    at      the    hearing.              Plaintiff's          counsel         could

 only        surmise       about        how      this            fact       might         indicate         Coastal's

 liability. ECF No.                92 at 19-20. Accordingly,                         Plaintiff's objection

 regarding leave to amend as to Coastal is OVERRULED.®

                           B.    Dismissal of KDSR With Prejudice

         The       court   reviews         de   novo the             R&R's       recommendation           to    dismiss


 KDSR with prejudice.                  See Fed.         R.       Civ.       P.    72(b).     Plaintiff           argues


 that KDSR should be dismissed without prejudice because "discovery

 may develop facts which would show negligence by KDSR.                                                   ECF No.       96
                                                                                                   ff




         ®    As    discussed          supra     at     7-9,          the        negligence       claim         against
 Coastal       is threadbare and amending it would be                                      futile.        Therefore,
 the    court        finds      no     clear     error           in     the       R&R's    recommendation               of
 dismissing  the negligence claim against Coastal with prejudice.
 See Diamond, 416 F.3d at 315 (clear error standard applies to R&R's
 unchallenged recommendations).

                                                             9
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 10 of 14 PageID# 690




  at 5.”^      Relatedly,            the        R&R   recommends                denying          Plaintiff          leave      to

  amend       because         using discovery to obtain additional facts would be

  inappropriate.                   ECF    No.    93    at        8-9.8
                         /f




              In   the   Fourth           Circuit,           district               courts       are   not    required to

  give plaintiffs one without-prejudice ruling on the merits before

  dismissing          with          prejudice.              United            States        ex    rel.       Nicholson         v.
                                                      rr




  MedCom Carolinas,                  Inc.,       42    F.4th 185,               196        (4th Cir.        2022).      As    the

  Fourth       Circuit             has    explained.                   [d]istrict           courts       have       inherent
                                                                  \\




  power       to    manage           their       dockets               with         an    eye     toward      speedy          and

  efficient          resolutions,                and        part        of      that        power      is     the       use    of

  with-prejudice dismissals.                               Id.     (citation omitted).                   Therefore,           the

  nature       of    dismissal              lies       within                 the        sound    discretion            of    the
                                                                         N\




  district         court.           Adbul-Mumit v.                 Alexandria Hyundai,                      LLC,    896      F.3d
                              t/




  278,    292       (4th Cir.            2018) .



          See supra note 5 and accompanying text. Moreover, KDSR
  argues   that  Plaintiff's   objection to  the  recommendation  of
  dismissal with prejudice "is the same as its request for leave to
  amend at the hearing" and thus lacks specificity and is a general
  objection that should be reviewed for clear error. ECF No. 102 at
  3-4. Contrary to KDSR's assertion, the Fourth Circuit has recently
  clarified that    objections need not be novel to be sufficiently
                               \\




  specific." Elijah v. Dunbar, 66 F.4th 454, 460 (4th Cir. 2023).
  Instead,   an objection can be sufficiently specific even if it
  w

   merely 'restate[s] all of [the] claims'" raised earlier because
  doing so "alert [s] the district court that [the litigant] believed
  the magistrate judge erred in recommending dismissal of those
  claims." Id. (quoting Martin v. Duffy, 858 F.3d 239, 246 (4th Cir.
  2017)). Accordingly, the court will review the recommendation of
  dismissal with prejudice ^ novo.

          8        Plaintiff              does        not              specifically               object           to        this
  recommendation regarding leave to amend, so the court reviews it
  for clear error. ECF No. 96 at 5; see Diamond, 416 F.3d at 315.

                                                                  10
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 11 of 14 PageID# 691




           Here,            the         Magistrate                 Judge       reasonably               concluded,                 and

  Plaintiff does not appear to contest.                                            that Plaintiff's negligence

  claim against KDSR could not                                 survive a Rule                   12(b)(6)       motion.             ECF

  No.     93 at 7.              Next,    the Magistrate Judge reasoned that
                                                                                                                \\
                                                                                                                     [tjhere        is


  no     evidence           suggesting that                Plaintiff               is    aware of           any facts             that

  would         correct             the           deficiencies                 found           within         the       Amended


  Complaint.                Id.     at       8     (internal             quotation             marks        omitted) .            That
                      ft




  reasoning is sound considering Plaintiff's acknowledgments at the

  hearing        that           "the     [CJomplaint               is    woefully             short     of    facts,
                                                                                                                            ft
                                                                                                                                  that


                                                                   and that the United States Navy and
  \\

       nobody knows what happened,
                                                          ft




  OSHA both conducted investigations but have been unable to explain

  why     the        accident            occurred.             ECF       No.       92        at 13-14,        16-17.             Also,

  Plaintiff's Objections to the R&R recognize that any claim against

  KDSR     would           depend        on       "facts           learned         in    discovery"            at      "a        later

  time.         ECF No.            96    at 5.      Accordingly,                   the       R&R recommends             denying
           n




  leave         to     amend           the       negligence              claim          after       discovery           because

       discovery           is    intended          to     'assist          a       party       to   prove       a      claim        it

  reasonably               believes          to    be    viable          without             discovery.        not      to        find


  out     if    it    has        any basis          for        a    claim.              ECF No.        93    at 8      (quoting
                                                                               I   n




  Micro        Motion,           Inc,    v.       Kane    Steel          Co.,          Inc.,    894     F.2d         1318,        1327

  (Fed.        Cir.        1990)) .       This      recommendation                      is    not   clearly           erroneous


  given Plaintiff's speculative reliance on future discovery.

           In    light of              the       uncertainty             around whether Plaintiff                           could.

  eventually,              raise a viable                negligence claim against KDSR,                                     and in


                                                                    11
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 12 of 14 PageID# 692




  the     interest            of     judicial               efficiency,                 the        court          OVERRULES



  Plaintiff's objection to the R&R's recommendation that Plaintiff's

  negligence claim against KDSR be dismissed with prejudice.®

                                         C. Wrongful Death Claim

          The    court        reviews          the    R&R's         recommendation                 that     Plaintiff's


  wrongful death claim under Virginia law be dismissed with prejudice

  and    without        leave      to     amend        for     clear         error      because           Plaintiff            did


  not     object       to     this       portion          of    the       R&R.         See    Diamond,             416        F.3d

  at 315.        The     Magistrate                 Judge      recommends              dismissing                this       claim

  because        it     is    preempted              by     general           maritime             law.     ECF         No.     93


  at    10-11.


          Plaintiff's              case        is    an     admiralty                case    under        this         court's

                                                ECF No.         21      at    SISI    11,    13.        With admiralty
                                                                                                    w

  admiralty jurisdiction.

  jurisdiction comes the application of substantive admiralty law.

  E.    River     S.S.       Corp.      v.     Transamerica               Delaval,           Inc.,        476 U.S.            858,

  864     (1986).      Therefore,               [a]bsent            a    relevant           statute,        the        general

  maritime       law,        as developed by the                        judiciary,           applies.
                                                                                                            ft
                                                                                                                  Id.       State


  law,    like the wrongful death statute Plaintiff relies
                                                                                                                   »

                                                                                                           on,         may not

  be    applied if           it    conflicts           with,         or      seeks      to    materially change.

  federal       maritime          law.         Md.    Dep't of Nat.                   Res,    v.    Kellum,            51     F.3d
                                          ff




  1220,    1226        (4th Cir.         1995).




          ® But       see supra note 5.

                                                               12
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 13 of 14 PageID# 693




          Virginia's            wrongful        death          statute           allows            plaintiffs           to

  recover damages for mental anguish, but federal maritime law does

  not.    Compare         Va.     Code      Ann.     §    8.01-52           (2023)              ("The    verdict        or

  judgment of the court trying the case without a jury shall include.

  but may       not    be     limited to,           damages       for       .    .     .    mental        anguish") ,

  with Sea-Land Servs.,                   Inc, v.   Gaudet,       414 U.S.            573,        585 n.l7       (1974)

  ("[Mjental          anguish         .        IS    not       compensable                 under        the    maritime

  wrongful-death remedy."),                    superseded on other grounds by statute,

  Longshore and Harbor Workers' Compensation Act, Pub. L. No. 92-576,

  86    Stat.     1251,     as    recognized         in Miles          v.       Apex        Marine        Corp.,       498


  U.S.    19,     30    n.l      (1990).      Given       this        conflict             between        Virginia's

  wrongful death law and federal maritime law, the state law wrongful

  death    claim       is     preempted.        Accordingly,             the         Magistrate               Judge    did

  not    clearly        err      in       finding    the       Virginia              wrongful           death     claim

  preempted, ECF No.              93 at 11, and the court ADOPTS this finding and

  the     R&R's        recommendation           that           this     claim              be     dismissed           with


  prejudice and without leave to amend.

                                              IV.   Conclusion


          Having reviewed the                 record in its             entirety,                and having made

  a ^ novo determination of those portions of the R&R to which the

  Plaintiff objected,                 the court OVERRULES Plaintiff's Objections and

  ADOPTS AND APPROVES IN FULL                       the    findings             and recommendations                    set

  forth    in   the     R&R.




                                                          13
Case 2:22-cv-00427-RBS-LRL Document 111 Filed 12/15/23 Page 14 of 14 PageID# 694




        Accordingly, KDSR's Motion to Dismiss, ECF No. 54, is GRANTED,

  Plaintiff's            claims against KDSR are DISMISSED with prejudice and

  without      leave to amend,                and KDSR is DISMISSED with prejudice                            from

  the case.     Coastal's Motion to Dismiss,                         ECF No.      59,       is also GRANTED,

  Plaintiff's            claims        against     Coastal       are      DISMISSED with                prejudice

  and without leave to amend,                      and Coastal is DISMISSED with prejudice

  from this case.               The Clerk shall enter judgment for Defendants KDSR

  and   Coastal.


         Finally,          on October 27,            2023,      Coastal further filed a Motion

  for   Judgment          on     the       Pleadings      asking         the   court         to    dismiss       the

  wrongful death claim                     (Count VIII).        ECF No.        100.     Plaintiff filed a

  Response stating that he does not oppose this Motion for Judgment.

  ECF No.      107       at 1-2.       Because the court,                in this Opinion,               dismisses

  the   wrongful           death           claim   in    its    entirety         as     to        all     parties.

  Coastal's         Motion           for   Judgment      on    the   Pleadings,             ECF No.       100,    is

  DISMISSED         AS    MOOT.


         The    Clerk           is     DIRECTED     to    send       a    copy    of        this    Opinion       to

  counsel      for all parties.

         IT    IS    SO    ORDERED.


                                                                                       bL           -m
                                                                     Rebecca Beach Smith
                                                                     Senior United States District Judge
                                                                     REBECCA      BEACH           SMITH
                                                     SENIOR      UNITED        STATES       DISTRICT        JUDGE


  December
                     15     ,    2023



                                                         14
